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                     EXHIBIT 6
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                                                                                                                             EXHIBIT 6
                                                                                          Travis Pittman <jtpittman@hphattorneys.com>



  VoIP-Pal v. AT&T et al./ Inza, et al. v. AT&T, et al.
  1 message

  Lui, Bradley S. <BLui@mofo.com>                                                          Fri, Feb 14, 2025 at 3:10 PM
  To: Ray Leon <ray@outpace.com>, Travis Pittman <jtpittman@hphattorneys.com>, "Scheinman, Aaron"
  <AScheinman@mofo.com>, "Gerking, Megan E." <MGerking@mofo.com>, "Miller, Michael B." <MBMiller@mofo.com>


     Ray,


     Thank you for our discussion this afternoon.


     I am writing to confirm the understanding we reached on the call.


     My firm represents Verizon Communications Inc. and the other Verizon defendants that have been named in
     the Complaints in the actions referenced above, including all Verizon corporate entities and individual
     Verizon directors. We have been authorized to accept service of the Summons and Complaints on behalf
     of all of these entities and individuals by email. Service by email to me will have the same effect as service
     by hand under FRCP 4(e)(2)(A) and FRCP 4(h)(1)(B), as applicable.


     You also agreed that you will not serve any of the individual Verizon defendants by hand.


     Please reply by email to confirm that the above is also your understanding.


     If you have any questions, please do not hesitate to ask.


     Best regards,


     Brad


     BRADLEY LUI

     Morrison & Foerster LLP



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     P: +1 (415) 268-6766



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